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            EXHIBIT 8
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March 28, 2018                                                                       Andrew D. Cohen
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Via Email (elizabeth.cutri@kirkland.com)

Elizabeth Cutri
Kirkland & Ellis LLP
300 North LaSalle, Chicago, IL 60654

                 Re:      Janssen Biotech et al v. Celltrion et al, No. 17-cv-11008 (D. Mass.)

Dear Liz:

       Defendants’ damages expert reports rely on information that has not been provided to
Janssen, and on selective information on subject matters as to which Defendants expressly
refused to provide discovery to Janssen. For Janssen’s experts to fairly respond to Dr. Frohlich’s
and Dr. Nagaich’s opinions, Defendants must produce at least the following information:

        1. All documentation underlying the laboratory testing described in Dr. Frohlich’s report
           (see, e.g., Frohlich Report ¶¶ 116-136, 152-159, 204-212), including lab notebooks,
           experimental protocols,1 and raw data, as well as information sufficient to show the
           costs of the testing, who performed it, and when and where it was performed.

        2. Documents sufficient to describe the development of the media used in the production
           process for Pfizer’s IFIXI, including in particular documents sufficient to show the
           time and effort required to select, develop, and optimize the IFIXI media. (See
           Frohlich Report ¶ 224.) Defendants refused to provide this information in discovery
           in response to specific requests from Janssen, yet now purport to rely on Pfizer’s
           IXIFI media in support of their case. (See Janssen’s RFP Nos. 8-10 and Defendants’
           Responses thereto; Letter from A. Cohen to E. Cutri dated October 6, 2017, at 3-4;
           Letter from E. Cutri to A. Cohen dated October 20, 2017, at 4.) That is unacceptable.

        3. Documents sufficient to show the date of first infringement. In particular, in his
           “Alternative Media Regulatory Strategy,” Dr. Nagaich for the first time invokes the
           safe harbor of 35 U.S.C. § 271(e)(1) and states that Defendants’ use of drug product
           made from the accused media at certain times after October 6, 2009 was “solely for
           regulatory purposes.” (See Nagaich Report ¶ 183.) He also contends that Defendants


1
 Dr. Frohlich states that the protocol for his experiment is in Appendix D (Frohlich Report ¶ 120), but Appendix D
only includes the ELISA testing protocol.



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              at times used media that was made before October 6, 2009 and therefore was not
              infringing. (See id. ¶ 183 n.328). In light of these contentions, we do not understand
              what date Defendants claim is the date of first infringement. It must be the first date
              after October 6, 2009 on which cell culture media was made that was eventually used
              for a non-regulatory purpose. Defendants’ reports do not identify that date and
              Defendants have refused our efforts to obtain discovery that would reveal that
              date. Please identify by batch number (and provide documents sufficient to show) the
              first batch of drug substance that was both made from cell culture media
              manufactured after October 6, 2009 and was turned into drug product that was used
              for any non-regulatory purpose (e.g., sold anywhere in the world). Please also
              identify by lot number (and provide documents sufficient to show) each lot of cell
              culture media (both CGM and CPM, however named) used to manufacture that batch
              of drug substance.

              In my letter to Ryan Kane dated February 13, 2018, we specifically requested this
              documentation (and noted that Celltrion’s 30(b)(6) witness (Ms. Yang) was
              unprepared to give related testimony as to Topic 18). Following further
              correspondence and meet-and-confers, Defendants refused to continue the 30(b)(6) of
              Ms. Yang (Letter from L. Cutri dated February 22, 2018; Email from G. Sanford
              dated March 8, 2018); refused to answer written questions on the subject in lieu of
              continuing the deposition (Letter from G. Sanford dated March 2, 2018); and refused
              to provide business records that would permit this information to be ascertained
              (Email from G. Sanford dated March 8, 2018).

        Given that Janssen’s reply expert reports on non-infringing alternatives are due on April
10, 2018, Janssen requests that this information be produced immediately, and in no event later
than the close of business on Friday, March 30, 2018. We reserve the right to request additional
information based on Defendants’ expert reports.

                                                           Best regards,

                                                           /s/ Andrew D. Cohen

                                                           Andrew D. Cohen




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